Case 3:03-cr-00850-W   Document 789   Filed 01/07/08   PageID.5053   Page 1 of 8
Case 3:03-cr-00850-W   Document 789   Filed 01/07/08   PageID.5054   Page 2 of 8
Case 3:03-cr-00850-W   Document 789   Filed 01/07/08   PageID.5055   Page 3 of 8
Case 3:03-cr-00850-W   Document 789   Filed 01/07/08   PageID.5056   Page 4 of 8
Case 3:03-cr-00850-W   Document 789   Filed 01/07/08   PageID.5057   Page 5 of 8
Case 3:03-cr-00850-W   Document 789   Filed 01/07/08   PageID.5058   Page 6 of 8
Case 3:03-cr-00850-W   Document 789   Filed 01/07/08   PageID.5059   Page 7 of 8
Case 3:03-cr-00850-W   Document 789   Filed 01/07/08   PageID.5060   Page 8 of 8
